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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

   TRIDINETWORKS, LTD.,                  C.A. No. 19-1062-CFC-CJB
    Plaintiff,
   v.
   NXP-USA, INC. and NXP B.V.,
    Defendants.

   TRIDINETWORKS, LTD.,                  C.A. No. 19-1063-CFC-CJB
    Plaintiff,
   v.
   SIGNIFY NORTH AMERICA
   CORPORATION and SIGNIFY
   NETHERLANDS B.V.,
    Defendants.

   TRIDINETWORKS, LTD.,                  C.A. No. 19-1064-CFC-CJB
    Plaintiff,
   v.
   STMICROELECTRONICS, INC.,
   STMICROELECTRONICS
   INTERNATIONAL N.V.,
   and DOE-1 d/b/a
   “STMICROELECTRONICS”,
    Defendants.

               PLAINTIFF’S ANSWERING BRIEF IN OPPOSITION
                  TO MOTION FOR SUMMARY JUDGMENT


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  Date: March 12, 2021
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  I.      INTRODUCTION

          Defendants attack Plaintiff’s ’276 patent as if it were a patent seeking exclu-

  sive rights to the set of motions customarily involved in setting up a computer net-

  work.

          The attack is misdirected. The patent does automate the end result, but not by

  merely attempting to automate the steps of a preexisting, manual process. Rather,

  the patent’s disclosure and claims change the procedural steps of the process, to al-

  low for full automation, and the patent further adds a specific, physical item (a “con-

  figuration adapter”) into the devices to be networked, to make the revised procedure

  possible. These transformative characteristics of the invention take it far beyond the

  prohibition on patenting abstract ideas under § 101.

          Defendants repeatedly fall back to what are at best obviousness arguments,

  but novelty and nonobviousness are not relevant to determining the presence of pa-

  tent eligible subject matter under § 101.

          In addition, Defendants’ approach, in seeking to equate the “configuration

  adapter” of the patent claims to various electronic components previously used for

  other purposes, repeatedly overlooks a material component integrated in the adapter

  (not only wireless storage of data on an unpowered device but also reading the data

  through a wired “device contact interface”). Defendants further presume that be-

  cause such a device could be built from an assortment of electronic parts, that the
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  device assembly can thereby be considered conventional component itself. These

  omissions and unwarranted inferences undercut Defendants’ arguments.

        The list of undisputed facts proffered by Defendants is disputed on material

  points.1 Even as stated, the facts presented by Defendants are insufficient to support

  summary judgment in Defendants’ favor. The motion must be denied.


  II.   THE ’276 PATENT

        A.     Problem and Solution

        The ’276 patent concerns technology arising in connection with “remotely

  controlling and monitoring devices in many areas such as home and commercial

  automation, industrial automation, lighting, and heating, ventilation and air condi-

  tioning (HVAC) control” (Ex. 1 to Abramson Decl, “’276 patent,” 1:35-38), a field

  that was the origin of what today is referred to as the “Internet of Things” (IoT). The

  patent concerns a new and different process and set of electronic components to au-

  tomate setting up a networked control application.

        The ’276 patent is not by any stretch a software patent, as Defendants attempt

  to make it appear. It is not about an advance achieved by how a general purpose

  computer is programmed, or about gathering, manipulating, or displaying




  1Plaintiff submits herewith its Statement of Disputed Facts (“Statement”) and the
  Declaration of Ronald Abramson (“Abramson Dec.”).


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  information. Rather, the ’276 patent concerns changing the content and sequence of

  the steps involved in setting up a network, in a manner that vastly streamlines the

  procedure, incorporating physical components not previously used for that purpose,

  in order to make the revised procedure possible.

         The ’276 patent summarizes the state of the art at the time of filing of its parent

  provisional application, in which forming networks of distributed automation de-

  vices required steps such as the following:

    1. Entering a unique ID (UID) such as a unique radio ID [for each device].
    2. Entering a startup attribute set (SAS) such as a personal area network (PAN)
       ID of the network.
    3. Identifying (connecting) the physical location of the device with its UID and
       its logical location and function on the network scheme.
    4. Pairing/binding of controlling devices and sensors.

  ’276 patent, 1:58-64. The ’276 patent notes that the “installation, [and] configuration

  of parameters for binding of the wireless devices requires highly skilled profession-

  als, special equipment and complicated manual procedures.” Id., 1:42-45. It also

  raises the issue of scalability, noting that “[t]his installation challenge is increased

  when a large quantity of sensing devices needs to be paired to corresponding con-

  trolling devices.” Id., 1:65-67.

         The ’276 patent addresses the “need for a simple automated method and sys-

  tem for initialization, location and binding of devices in large wireless networks.”

  Id., 3:4-6.


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        To solve the stated problem, the ’276 patent brings in technology from a dif-

  ferent field, the field of RFID, to significantly reduce the work and level of worker

  expertise required to set up networks of distributed devices. See id., 4:25-28, 10:5-

  6, 13:35-37, 13:65-14:1, 14:38-40, 14:58-60. The approach is described at length in

  the specification and summarized in Table 1 in columns 10-11 and in flowcharts in

  Figs. 9-17 of the patent. The approach disclosed therein involves creating a design

  for the network in advance, and then, using advanced features of RFID—which in-

  cludes not only the ability to provide contactless communication typical of all RFID,

  but also the further capability of being able to store information in a memory without

  applied power, as made possible by certain NFC varieties of RFID—it proceeds by

  contactlessly transferring the design data of the design to each device via RFID. See,

  e.g., id., 11:50-60, 14:58-65. When powered on in their installed positions, the de-

  vices (internally) use the data that was previously stored in them via RFID to then

  form and come up on the network and assume their respective roles in the network,

  per the design.

        Thus, in place of the previously manual procedure for installing such a net-

  work, the patent teaches a simplified procedure:

    •   Authoring a pre-specified design. Create a complete electronically repre-
        sented design first. See id., 24:16-26. The design, which can be created sepa-
        rately on a workstation, will cover for everything that is going to be in the
        network. The design will include, up front, all of the parameters, data, and
        “binding” information that will be needed to define device interconnections



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        over the network in order to run an automation application (e.g., actuation,
        sensory, control, or other automation application). See id., 24:30-40.
    •   Download. Transfer the design electronically to a handheld “commissioning
        tool.” See id., 11:50-52, 12:14-17. This may be a simple download from the
        design system to the commissioning tool. The commissioning tool is fitted
        with a “configuration adapter” that can further transfer data from the design,
        via, e.g., NFC contactless communications. See id., 13:1-6, 14:49-57.
    •   Use specially outfitted devices. Each device to be included in the network
        application (sensor, switch, controller, etc.) is outfitted in advance with a
        “complementary” configuration adapter. See id., 12:44-49. This configuration
        adapter is “complementary,” in the sense that it can receive and store data
        from another configuration adapter (such as the configuration adapter in the
        commissioning tool), via the same protocol for both adapters (e.g., NFC).
    •   “Tap.” Use the commissioning tool to transfer the relevant data from the de-
        sign to each respective device. See, e.g., id., 13:1-6. This is done between the
        two configuration adapters: the one on the commissioning tool and the one
        embedded in the device. The operation can be, for example an NFC “tap” of
        the commissioning tool to the device. See, e.g., id., 22:11-18. The device can
        be configured in this step without needing to be powered on. See, e.g., id.,
        14:62-65, 22:6-8.
    •   Install. Physically install each device in its respective location where needed.
        See id., 11:56-60, 21:63-65.
    •   Turn the devices on. Initialize (e.g., turn on, reset, or power up) the device(s).
        Each device will automatically read its own stored configuration data, and
        establish its own connections to the network, including all needed communi-
        cations “bindings” to other network devices as needed to create the desired
        network application. See id., 23:7-17.
        Note that the above steps are procedurally different from the prior manual

  setup process. Under the new procedure, device initialization is deferred, allowing

  device configuration to take place beforehand, without powering the devices, which

  is especially significant where devices would otherwise have to be accessed from

  ladders, crawl spaces, etc. Everything can be loaded before installing the devices on


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  location; even while the devices are still packed in their shipping boxes. (By contrast,

  everything from at least the second step in the prior process requires that the device

  be running.) Configuration itself also takes place in one operation (the “Tap” step),

  meaning that the installer works from a completely “canned” design, and need not

  have the technical knowledge to enter individual device settings. (For convenience,

  the installer may also defer the “Tap” until after physically installing the device in

  its intended location. See id., 22:49-50).

        The new procedure does require specially outfitted devices, because the pro-

  cess presumes that each device has a built-in “dedicated” configuration adapter.

  Id., 4:23-29. However, this is merely a procurement issue (one, by the way, that the

  Defendants are more than happy to address by supplying the items used to infringe),

  not an operational issue for the installer, who will take the devices as provided and

  need only “Tap” on each device and install them physically in place.

        The solution does not end with simply using NFC to configure an individual

  device to incorporate that device into a network. The disclosure contemplates that

  the created design that is downloaded to a commissioning tool can incorporate a

  plurality of devices having a variety of roles in the network, for example including

  devices such as lights, switches, and sensors, as well as more complex devices such

  as access points and master controllers. See, e.g., id., Fig. 1; Table 2 at cols. 15-16;

  4:46-47, and 16:27-65. The created design in these cases, as in the others, comprises



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  parameters, configuration information, and binding information for the devices to be

  included in the network.




        Looking at the claimed processes and apparatus in further detail, and with

  reference to Figures 1, 2, and 7 reproduced here, a network design comprising the

  devices to be networked is created (in design system 101), and the design is accessed

  by a commissioning tool 104 (which may, e.g., be built into a PDA). See id., 13:1-

  6.




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        The patent describes Fig. 2, shown above, as “a schematic block diagram of a

  configuration adapter 204, according to the present invention.” Id., 14:47-48 (em-

  phasis added). Each wired or wireless device (201, 202) has an embedded configu-

  ration adapter (204), having the capability, without applied power, to receive and

  store the design data on the device (for example, through a “tap” from an NFC-based

  commissioning tool)—such that the device containing the configuration adapter may

  be installed in the desired physical location and later be initialized (e.g., by being

  powered on or reset), at which point it can simply bootstrap itself into (i.e., form)

  the designed network. See, e.g., id., Fig. 14; 22:57-23:17. As a result, the personnel

  performing the installation no longer need to physically bring up each device sepa-

  rately on the network and perform technical configuration steps on each device

  through a communications console (as described, for example at id., 1:39-67), al-

  lowing numerous devices to be deployed and networked in a simple manner, by un-

  skilled personnel, which was not possible in the prior art.




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          As shown in Fig. 7, a configuration adapter in accordance with the invention

  includes three subcomponents: (1) a “configuration interface 702 … to load the con-

  figuration data downloaded from the commissioning tool (104) … through the con-

  figuration link 207,” which “may be carried out by contactless technologies (such as

  RFID/NFC)”; (2) “control and memory module 700 … to store the loaded configu-

  ration data and to control the adapter”; and (3) “[t]he device contact interface 701[,

  which] may be a standard communication interface (such as SPI or 1-Wire) or a

  standard control interface (such as DALI).” Id., 14:49-52, 14:58-59, 14:60-61,

  14:67-15:2. The disclosure also refers to I2C as a “standard sensor interface.” Id.,

  14:8.

          Design system 101 (Fig. 1) may be used to create the design for a wired and

  wireless network control system 102. Id., 12:10-14. The resultant design data may

  be downloaded into a master controller 103 of control system 102 and is used to

  control wireless networks 105 (which include wireless devices 202) and wired net-

  works 106 (which include wired devices 201). Id. This design data may also be

  downloaded into a commissioning tool 104 that is used to commission devices in the

  wireless 106 and wired 105 networks. Id., 12:14-17.

          Design system 101 (Fig. 1) is used to define a network scheme and binding

  information of system 102, with each wireless 202 and wired 201 device having a

  (wired or wireless) logical ID that specifies its type and a physical location that can



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  be later used for installation and commissioning purposes. Id., 15:5-10, 15:41-47.

  Additionally, wired and wireless device mappings are created, which can include

  mappings between logical IDs and wired 206 and wireless 205 communication link

  addresses, and startup attribute sets (SAS) for wireless devices (e.g., personal area

  network IDs, channel masks, network keys, radio IDs). Id., 17:20-19:2.

        Collectively, this information defines the wired 106 and wireless 105 net-

  works that will be created when the wired 201 and wireless 202 components initial-

  ize themselves. Each wired device 201, wireless device 202, and access point 200

  includes a respective configuration adapter 204, shown in Fig. 7. Id., 14:47-57. The

  configuration adapters 204 are used to obtain commissioning information from com-

  missioning tool 104. Id. A configuration interface 702 is used to load and download

  configuration data, which can be via contactless technologies (such as RFID/NFC).

  Id., 14:58-65. The configuration adapters 204 in the wireless devices 202, wired de-

  vices 201, and access point 200 do not need to be powered-up during the download-

  ing of configuration data. Id.




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        Commissioning tool 104, shown in Fig. 4, also contains a configuration

  adapter 204 that can communicate with the other configuration adapters 204. Id.,

  13:22-37. Commissioning tool 104 holds the design data created in design system

  101 and downloads appropriate configuration data through configuration link 207

  into the wireless devices 202, the wired devices 201, and access point 200. See id.,

  21:57-22:53.

        Wireless devices 202 are installed according to their respective types and lo-

  cations as taken from the network schemes indicated by commissioning tool 104. Id.

  The commissioning tool 104 is then brought into proximity with the configuration

  adapter 204 of the installed wireless device, and commissioning information is then

  transferred into the configuration adapter 204 of the wireless device 202, with no


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  power-up the wireless device 202 needed. Id. The independent claims at issue here

  both incorporate the corresponding recitation that “of the configuration adapters in-

  cluded in the system, only said configuration adapter of said commissioning tool

  must be powered-up during data communication between said at least one commis-

  sioning tool and said devices.”

        When devices 201, 202 are powered-up they initialize themselves based upon

  the commissioning information present within their respective configuration adapt-

  ers 204. Id., 22:54-23:39. They use this information, such as radio IDs and SAS

  information, to create and join the designated networks and to locate and communi-

  cate with other devices. Id. Device bindings are then created to complete formation

  of the control system 102 per the network design. Id., 23:40-67. Master controller

  103 can then control the system 102 via access point 200. Id., 12:58-64.


        B.     Background on RFID

        The claims of the ’276 patent all recite an operation of storing data on an

  unpowered device. The specification discloses “contactless technologies (such as

  RFID/NFC)” as way to effectuate this storage. ’276 patent, 4:26-27. Yet, there were

  different types of RFID, most of which are not relevant to this case. See Ex. 2 to

  Abramson Dec., Declaration of Anthony G. Rowe, dated December 4, 2020 (“Rowe

  Dec.”) at Ex. C (“Rowe PTAB Dec.”) ¶ 13.




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         One differentiator of RFID tags is whether the tag is “active” or “passive.” An

  active tag has an on-board power supply, such as a battery, so that, for example, it

  can initiate communications on its own. A passive tag, by contrast, only responds

  when probed by an RF signal from outside itself and is powered by the RF signal

  received through its antenna. Id. ¶ 14.

         Another characteristic of an RFID tag is the type of antenna it uses. The prin-

  cipal choices are inductive (or “Near Field”) antennas, or “backscatter” (“Far Field”)

  antennas. Inductive antennas operate like transformer windings, and can transfer

  much more power to the tag, which is useful for operating electronics on the tag. But

  inductive antennas have very short range (typically, 4 cm. or 1¼ inches). Backscatter

  antennas can have longer range, though for a passive tag the range is still limited,

  typically on the order of 1 meter. However, backscatter antennas are much more

  limited in terms of the amount of power they can supply for electronics in a passive

  tag. Id. ¶ 15.

         Generic RFID at the time of the ’276 patent’s priority date can be seen in the

  typical anti-theft tag in a department store. These were passive devices, typically

  with backscatter antennas. The simplest tags, EAS (“Electronic Article Surveil-

  lance”) tags, were just binary devices that reflected an RF signal when active and

  could be “deactivated” at the checkout counter (so as not to return the signal when

  deactivated). More sophisticated tags also reported sending back an ID in the RF



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  back-signal, which could be correlated with what the tagged item was. In either im-

  plementation, an RFID “tag” is affixed to inventory items. Such a tag derives its own

  power from the probe RF signal sent to it by the “reader” (e.g., a device at the store

  exit), over short range (typically, one meter or less). In the case of the type of tag

  that reports an ID, that power can also drive a simple transponder circuit, which

  modulates an RF signal to be returned through the device’s antenna with a digital ID

  read from a static memory on the tag. Thus, the RF signal returned to the reader is

  encoded with an ID from the tag. Id. ¶ 16. Another characteristic of NFC is that,

  unlike a network, it operates peer-to-peer. Id. ¶ 37.

        Turning to the present case, the functionality of the “configuration adapter”

  of the ’276 patent goes well beyond the simple inventory control RFID tag applica-

  tion described above. Id. ¶ 17. In the case of the configuration adapter of the ’276

  patent, the device also needs to be able receive, demodulate, and store on a non-

  volatile storage device, a significant amount of data (e.g., binding information, cre-

  dentials, and Startup Attribute Set (see, e.g., ’276 patent, 18:31-50)). These func-

  tional requirements effectively limit the configuration adapter to types of RFID that

  can transfer sufficient power for these operations, in addition to communicating the

  RF modulated data itself. Rowe PTAB Dec. ¶ 17.

        Thus, the type of tag that would be used in an RFID implementation of the

  ’276 patent would be a passive tag with an inductive antenna, as in ISO 14443, a



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  standard cited in the ’276 specification. ’276 patent, 14:57; id. ¶ 18. ISO 14443 is a

  standard for NFC communications. Rowe Dec. ¶ 18. Moreover, the tag would also

  have to have non-volatile storage on board, which is wirelessly writable without

  powering up the device in which it is contained. Furthermore, to be useful in actually

  bringing up the network, the configuration adapter further incorporates a wired “de-

  vice contact interface” for accessing the storage, such as a connection for an interface

  bus (id.), which ISO 14443 did not provide for.

         In sum, while the ’276 patent and some of the references cited by Defendants

  refer to “RFID,” it is important to bear in mind that the type of RFID that is operable

  in these cases is in the nature of NFC, and furthermore, beyond simply being an NFC

  tag, the functionality required by the ’276 patent further requires that the device in-

  tegrate non-volatile storage that is writable without powering up the device that con-

  tains the storage element and the device contact interface, to enable a powered device

  to later use the stored information. Id. ¶¶ 19-20. Thus, the notion of RFID itself does

  not solve the problem.


  III.   LEGAL STANDARDS

         A.    Summary Judgment Standards

         Pursuant to Rule 56(a), “[t]he court shall grant summary judgment if the mo-

  vant shows that there is no genuine dispute as to any material fact and the movant is

  entitled to judgment as a matter of law.” The moving party bears the burden of


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  demonstrating the absence of a genuine issue of material fact. See Matsushita

  Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 585-86 (1986). An assertion

  that a fact cannot be, or, alternatively, is, genuinely disputed must be supported ei-

  ther by citing to “particular parts of materials in the record, including depositions,

  documents, electronically stored information, affidavits or declarations, stipulations

  (including those made for purposes of the motion only), admissions, interrogatory

  answers, or other materials,” or by “showing that the materials cited do not establish

  the absence or presence of a genuine dispute, or that an adverse party cannot produce

  admissible evidence to support the fact.” Fed. R. Civ. P. 56(c)(1)(A)-(B). If the

  moving party has carried its burden, the nonmovant must then “come forward with

  specific facts showing that there is a genuine issue for trial.” Matsushita, 475 U.S. at

  587 (internal quotation marks and emphasis omitted). The Court will “draw all rea-

  sonable inferences in favor of the nonmoving party, and it may not make credibility

  determinations or weigh the evidence.” Reeves v. Sanderson Plumbing Prods., Inc.,

  530 U.S. 133, 150 (2000). Summary judgment cannot be granted if there is “evi-

  dence on which the jury could reasonably find” for the nonmoving party. See An-

  derson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986).




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           B.    Section 101 Standards

           Alice and the Supreme Court’s precursor decision, Mayo Collaborative Ser-

  vices v. Prometheus Laboratories, Inc., 566 U.S. 66 (2012), prescribe a two-part

  analysis for patent eligible subject matter under § 101:

    1. “whether the claims at issue are directed to a patent-ineligible concept”
    2. if yes (and only if yes), “we consider the elements of each claim both individ-
       ually and ‘as an ordered combination’ to determine whether the additional
       elements ‘transform the nature of the claim’ into a patent-eligible applica-
       tion.”
  Alice Corp. v. CLS Bank Int’l, 573 U.S. 208, 217-18 (2014) (citing Mayo, 566 U.S.

  at 77-79).


                 1.     Alice Step 1

           There are a number of subordinate rules that apply to the analysis under Step

  1 of Alice.


                        a)    Determining what the patent claim is “directed to”

           What “directed to” means in the context of Alice and Mayo is obviously key,

  in that this determination drives the remainder of the analysis. There are controlling

  legal standards for this. For example, the Federal Circuit recently stated the follow-

  ing:

         The Step 1 “directed to” analysis called for by our cases depends on an ac-
         curate characterization of what the claims require and of what the patent
         asserts to be the claimed advance. The accuracy of those characterizations



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      is crucial to the sound conduct of the inquiries into the problem being ad-
      dressed and whether the line of specificity of solution has been crossed.

  TecSec, Inc. v. Adobe Inc., 978 F.3d 1278, 1294 (Fed. Cir. 2020) (emphasis added).


                      b)     Step 1 must consider the claim as a whole

        The claims must be considered “in their entirety to ascertain whether their

  character as a whole is directed to excluded subject matter.” McRO, Inc. v. Bandai

  Namco Games Am. Inc., 837 F.3d 1299, 1312 (Fed. Cir. 2016) (internal quotations

  and citation omitted); see also Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350,

  1353 (Fed. Cir. 2016) (“[W]e have described the first-stage inquiry as looking at the

  ‘focus’ of the claims, their ‘character as a whole . . . .’”) (citations omitted); Alice,

  573 U.S. at 218 n.3 (applying “the general rule that patent claims must be considered

  as a whole”) (internal quotations and citations omitted).


                      c)     Whether individual claim elements are implemented in
                             a conventional manner is irrelevant to Step 1

        “The analysis under Alice step one is whether the claims as a whole are ‘di-

  rected to’ an abstract idea, regardless of whether the prior art demonstrates that the

  idea or other aspects of the claim are known, unknown, conventional, unconven-

  tional, routine, or not routine.” CardioNet, LLC v. InfoBionic, Inc., 955 F.3d 1358,

  1372 (Fed. Cir. 2020) (emphasis added) (citing, inter alia, Diamond v. Diehr, 450

  U.S. 175, 188-89 (1981)). As the Supreme Court stated in Diehr, “[t]he ‘novelty’ of

  any element or steps in a process, or even of the process itself, is of no relevance in


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  determining whether the subject matter of a claim falls within the § 101 categories

  of possibly patentable subject matter.” 450 U.S. at 188–89 (footnote omitted).


                      d)    Novelty and nonobviousness plays no part in the Step 1
                            analysis

        “The § 101 patent-eligibility inquiry is only a threshold test.” Bilski v. Kappos,

  561 U.S. 593, 602 (2010). Comparisons of the prior art and the claims are “reserve[d]

  for §§ 102 and 103 purposes.” CardioNet, 955 F.3d at 1373.


               2.     Alice Step 2

        Step 2 of the Alice analysis concerns examining the elements of the claim to

  determine whether it contains an “inventive concept” sufficient to “transform” the

  claimed abstract idea into a patent-eligible application.


                      a)    Step 2 is reached if (and only if) the claim does not pass
                            Step 1

        If the claims are not directed to an abstract idea under Step 1, there is no need

  to proceed to Step 2. See Alice, 573 U.S. at 217; Enfish, LLC v. Microsoft Corp., 822

  F.3d 1327, 1339 (Fed. Cir. 2016); Thales Visionix Inc. v. United States, 850 F.3d

  1343, 1349 (Fed. Cir. 2017).




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                     b)     For Step 2, the claim elements are considered individu-
                            ally in the search for an inventive concept

        The inventive concept of Step 2 “may arise in one or more of the individual

  claim limitations.” BASCOM Global Internet Servs., Inc. v. AT&T Mobility LLC,

  827 F.3d 1341, 1349 (Fed. Cir. 2016) (citing Alice, 573 U.S. at 217).


                     c)     An inventive concept for Step 2 can also be found in a
                            particular combination of elements

        In seeking an inventive concept in Alice Step 2, the court must “consider the

  elements of each claim both individually and ‘as an ordered combination.’” Alice,

  573 U.S. at 217; see, e.g., BASCOM, 827 F.3d at 1350 (“As is the case here, an

  inventive concept can be found in the non-conventional and non-generic arrange-

  ment of known, conventional pieces”).


                     d)     Meaning of “Transform” in Step 2

        To transform an abstract idea into a patent-eligible application, the claims

  must do “more than simply stat[e] the abstract idea while adding the words ‘apply

  it.’ ” Alice, 573 U.S. at 221 (quoting Mayo, 566 U.S. at 72) (internal alterations

  omitted); see also SRI Int’l, Inc. v. Cisco Sys., Inc., 930 F.3d 1295, 1303 (Fed. Cir.

  2019).




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                      e)     To Merely “Do It With a Computer” Is Not Inventive

        Claims that merely recite an abstract idea “along with the requirement to per-

  form it on the Internet, or to perform it on a set of generic computer components …

  would not contain an inventive concept.” BASCOM, 827 F.3d at 1350; see also Cy-

  berSource Corp. v. Retail Decisions, Inc., 654 F.3d 1366, 1370 (Fed. Cir. 2011)

  (finding the addition of the use of the Internet to verify a credit card transaction did

  not meaningfully add to the abstract idea of verifying the transaction).


                      f)     An inventive concept for Step 2 cannot be based on the
                             abstract idea that triggered Step 1

        A further requirement is that, to satisfy step 2, courts must look to “claim

  limitations other than the invention’s use of the ineligible concept.” BSG Tech LLC

  v. BuySeasons, Inc., 899 F.3d 1281, 1290 (Fed. Cir. 2018).


                      g)     Whether the implementation of a claim element is rou-
                             tine and conventional for Step 2 may present an issue of
                             fact

        “The question of whether a claim element or combination of elements is well-

  understood, routine and conventional to a skilled artisan in the relevant field is a

  question of fact.” Berkheimer v. HP Inc., 881 F.3d 1360, 1368 (Fed. Cir. 2018).

        Nor does the existence of prior art establish that something is “routine and

  conventional.” “Whether a particular technology is well-understood, routine, and

  conventional goes beyond what was simply known in the prior art. The mere fact



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  that something is disclosed in a piece of prior art, for example, does not mean it was

  well-understood, routine, and conventional.” Id. at 1369.


               3.     Section 101 Standard of Proof—Clear and Convincing Evi-
                      dence

        The U.S. Supreme Court ruled in Commil USA, LLC v. Cisco Systems, Inc.,

  that the clear and convincing evidentiary standard applies to all challenges to a pa-

  tent’s validity. 135 S. Ct. 1920, 1928-29 (2015). To support a claim of invalidity, a

  defendant has the burden to establish all facts pertinent to the analysis by clear and

  convincing evidence. Berkheimer, 881 F.3d at 1368. On this motion, the burden rests

  on Defendants because they are the party asserting invalidity. See eCeipt LLC v.

  Homegoods, Inc., 2019 WL 10302271 at *2 (W.D. Tex. May 20, 2019); accord TMI

  Sols. LLC v. Bath & Body Works Direct, Inc., 2018 WL 4660370 at *4 (D.

  Del. Sept. 28, 2018).


  IV.   Argument

        For Alice Step 1, the Defendants have chosen to run with the broadest con-

  ceivable interpretation of what the claims are “directed to.” Their analysis would

  reduce the patent to “the concept of setting up a network, which is a longstanding

  practice.” D.I. 68 (“Opening Br.”) at 14. This extreme characterization simply bull-

  dozes over what the patent itself explains is its advance over the prior art and strips

  all major aspects of the implementation out of the patent at Alice step 1.


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        As discussed in the introduction and will be addressed herein, the claims of

  the ’276 patent do not merely automate a previously performed procedure, but ma-

  terially change the procedure and introduce new physical elements. Defendants’ for-

  mulation of what the patent is purportedly “directed to” is untethered to the language

  of the patent claims and written description, and further asks the wrong questions

  and, as a result, is untethered to the law as well. See Enfish, 822 F.3d at 1337.

        Defendants’ attempted caselaw analogies to software, business process, and

  information manipulation cases do not fit. There has never been any case under § 101

  remotely similar to this case, which found against patent eligibility.


        A.     Step 1 Analysis

        Alice Step 1 involves determining “whether the claims at issue are directed to

  a patent-ineligible concept,” such as a law of nature, a natural phenomenon, or an

  abstract idea. 573 U.S. at 218.

        Defendants cite no authority on how the Court is supposed to determine what

  a patent claim is “directed to.” Instead, their brief simply opens with the pivotal

  pronouncement that “independent claim 1 is drawn to the concept of setting up a

  network, which is a longstanding practice.” Opening Br. at 14. This formulation is

  repeated, over and over, throughout Defendants’ brief, with no attempt to support it

  with any accepted legal analysis.




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        To serve their ends of seeking to invalidate the patent, the Defendants quite

  obviously chose the broadest conceivable formulation they could devise, for what

  they say the claims of the ’276 patent are “directed to.”

        Applicable authority requires considerably more rigorous analysis than what

  is reflected in the Defendants’ brief. At step one of the Alice framework, we “look

  at the focus of the claimed advance over the prior art to determine if the claim’s

  character as a whole is directed to excluded subject matter.” Affinity Labs of Tex.,

  LLC v. DirecTV, LLC, 838 F.3d 1253, 1257 (Fed. Cir. 2016) (internal quotation

  marks omitted); Koninklijke KPN N.V. v. Gemalto M2M GmbH, 942 F.3d 1143,

  1149 (Fed. Cir. 2019) (same) (quoting Affinity Labs).

        The necessity of a starting analysis that looks to the claimed advance and not

  just the nature of the result was emphasized recently by the Federal Circuit:

      The Step 1 “directed to” analysis called for by our cases depends on an ac-
      curate characterization of what the claims require and of what the patent
      asserts to be the claimed advance. The accuracy of those characterizations
      is crucial to the sound conduct of the inquiries into the problem being ad-
      dressed and whether the line of specificity of solution has been crossed.

  TecSec, 978 F.3d at 1294 (emphasis added). At Alice step one, “it is not enough to

  merely identify a patent-ineligible concept underlying the claim; we must determine

  whether that patent-ineligible concept is what the claim is ‘directed to.’” Data En-

  gine Tech,. LLC v. Google LLC, 906 F.3d 999, 1011 (Fed. Cir. 2018).




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           The Alice case itself teaches that “[a]t some level, all inventions … embody,

  use, reflect, rest upon, or apply laws of nature, natural phenomena, or abstract ideas.”

  573 U.S. at 217 (quoting Mayo, 566 U.S. at 71). The Federal Circuit has repeatedly

  warned of the need to “‘avoid oversimplifying the claims’ by looking at them gen-

  erally and failing to account for the specific requirements of the claims.” McRO, 837

  F.3d at 1313; see also Enfish, 822 F.3d at 1335 (the “directed to” inquiry with regard

  to patent claims is based on whether, when the claims are viewed in light of the

  patent specification, “their character as a whole is directed to excluded subject mat-

  ter”).

           Defendants argue that the challenged claims are directed to the alleged “ab-

  stract idea of setting up a network.” Opening Br. at 2. But that characterization of

  the claims is overbroad, as it “disregard[s] elements of the claims at issue that the

  specification makes clear are important parts of the claimed advance in the combi-

  nation of elements.” TecSec, 978 F.3d at 1294.

           The examination of both the claims and the specification is necessary because

  one of the key aspects of the eligible subject matter analysis is determining what it

  is that the applicant was seeking to patent.

           It is not difficult to follow the instructions of the TecSec case and look at “what

  the claims require and … what the patent asserts to be the claimed advance.” Id.




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        A strong indication of what the patent views as its claimed advance may be

  seen in its identification of shortcomings in the prior art and the patent’s own state-

  ments of what shortcomings needed to be overcome. The answer to the inquiry is in

  plain view, in the patent.

        The specification notes the “installation challenge” of the prior art. ’276 pa-

  tent, 1:42-67. It explains how that process was problematic in the prior art, specifi-

  cally noting the shortcomings, which primarily concerned the disadvantages of hav-

  ing to actually bring up the devices on the network before they could be configured,

  and for failing to automate device identification.2

        The analysis of prior art shortcomings ends with this statement: “There is a

  need for a simple automated method and system for initialization, location and



  2The perceived shortcomings in the prior art are set forth in the ’276 patent at 2:5-
  3:3:
  Culbert: does not solve the problem of locating wireless devices and performing post
  installation configuration tasks, or how devices are distinguished from one another.
  Wang: Device initialization according to Wang is a complex post-installation pro-
  cess.
  Periera: process of determining which nodes should be paired cannot be automated.
  Combs: requires pre-configuring the devices and bringing them close to an admin-
  istrator (such as PC), requires software manipulation, is time consuming.
  Kruse: Requires programming the dives by a master controller but does not mention
  how the devices are identified, how pairing/binding is achieved, or how device lo-
  cations are determined.


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  binding of devices in large wireless networks.” ’276 patent, 3:4-6. Thus, the solution

  that the ’276 patent is directed to automates all three of initialization, location, and

  binding of devices.

        The claim language also specifically requires the ability to do unpowered con-

  figuration prior to initialization and binding. Putting this all together as TecSec pre-

  scribes leads to the following:

      The independent claims of the ’276 patent are directed to simplifying and
      automating the initialization, location and binding of devices in large net-
      works by performing device configuration with the necessary setup param-
      eters in advance of powering and initializing the devices.

  This statement, unlike the non-particular, high-level formulation of the Defendants,

  actually articulates how the ’276 patent viewed its own advance over the prior art.

  This is what the Court is supposed to be looking at in Step 1. The Defendants for

  their part clearly got this wrong.3

        Why is this not a mere abstract idea? One very simple answer is because the

  claimed invention does not merely automate the prior known steps of a process pre-

  viously performed by humans—it changes the process itself (including underlying

  apparatus changes) in order to allow it to be automated. It also improves all of the




  3It is incumbent on a movant seeking judgment on the basis that the patent claims
  an abstract idea to properly identify the alleged abstract idea in its moving papers.
  Defendants failed to do so.


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  apparatus involved, as tools, and improves the networks of which they are a part by

  making large-scale deployments more practical.


               1.     Changed Process

        Under the ’276 patent invention, the specification of everything in the network

  design is separated from its instantiation. Everything associated with instantiation is

  deferred, altering the physical process steps and sequence. Everything required for

  instantiation gets set into motion in the last step, “initialization,” when the devices

  are powered up, and then automatically read all design details previously stored in

  its configuration adapter and automatically bring the network to completely life.

        An invention that changes a physical process goes to the essence of what has

  been recognized to characterize patentable subject matter.

        The Alice decision itself addressed this issue in its comparison of Parker

  v. Flook, 437 U.S. 584 (1978), which held the claims at issue patentable, with those

  of Diamond v. Diehr, 450 U.S. 175 (1981), which held claims that superficially

  could be characterized very similarly, as patentable.

        Flook concerned a computerized process for setting alarm limits in a process

  for cracking hydrocarbons. 437 U.S. at 585-86. Diehr concerned a superficially sim-

  ilar claim, involving a computerized process for determining when to release a mold

  for curing synthetic rubber. 450 U.S. at 177.




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        Flook and Diehr were discussed at length and distinguished in the Alice deci-

  sion. 573 U.S. at 222-23. The point of distinction, per Alice, was that the claims in

  Diehr covered patent-eligible subject matter because they “describe[d] a process of

  curing rubber beginning with the loading of the mold and ending with the opening

  of the press and the production of a synthetic rubber product that has been perfectly

  cured — a result heretofore unknown in the art.” Diehr, 450 U.S. at 193 n.15. It

  explained that claims are patent eligible under § 101 “when a claim containing a

  mathematical formula implements or applies that formula in a structure or process

  which, when considered as a whole, is performing a function which the patent laws

  were designed to protect." Id. at 192. The Federal Circuit has held that Diehr is in-

  structive precedent for Alice Step 1: “In terms of the modern day Alice test, the Diehr

  claims were directed to an improvement in the rubber curing process, not a mathe-

  matical formula.” Thales, 850 F. 3d at 1348 (emphasis added).

        The ’276 patent is comparable in this regard to Diehr, in which (as reprised in

  the later Alice decision), the inventor deployed a thermocouple into the mold, which

  “constantly determine[ed] the temperature (Z) of the mold at a location closely ad-

  jacent to the mold cavity in the press during molding.” It is also comparable to Tha-

  les, where the court upheld claims to an inertial sensor tracking system, in which

  equations “dictated by the placement of the inertial sensors … reduce[] errors in the




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  inertial system,” finding the claims “nearly indistinguishable from those in Diehr.”

  Id.

        Like the thermocouple and continuous measurements in Diehr, and the posi-

  tion tracking in Thales, the inventor here embedded a configuration adapter into the

  device to be networked, to provide a built-in component operable to receive on the

  device a download of the data for a network design, to be used later, during initiali-

  zation, to cause the device to join the network automatically. Introducing the con-

  figuration adapter into the devices to be configured vastly simplifies the process of

  installing networked devices, changing the process from one requiring detailed indi-

  vidual operations on each device, some in place (e.g., the top of a light pole) and

  under power, to a situation where the device can be “tapped” once with a tool, even

  through its packaging, and then just put physically into place. This represents a clear

  improvement in the physical process of deploying networked devices. As in Diehr,

  this is something that practitioners in the field of the ’276 patent had not been able

  to achieve. The fact that a computer created the design for the network, or that a

  “control” element (inside the device) will power the steps by which the device joins

  the network, does not change the fact that the improvement here concerns the process

  of configuration and deployment, which results from a hardware modification, and

  is not a function of the programming of any computer. As the Supreme Court con-

  cluded in Diehr, the fact that a computer is involved in an otherwise patentable



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  process—which corresponds to what is presented here in the introduction of the con-

  figuration adapter into the configuration process—does not preclude patent-eligibil-

  ity.

         Defendants nevertheless seek to argue based on merely automating a previ-

  ously manual process, analogizing it to taking an age-old process and merely saying

  “do it with a computer.”

         There is in fact no such age-old process. The process that generally prevailed,

  prior to the invention, as reflected in the four-step process recited in column 1 of the

  ’276 patent, was modified, by physically incorporating a configuration adapter into

  the device to be configured, which allowed the prior four labor-intensive configura-

  tion steps to be combined and changed, to simply tapping on the device with a tool

  and plugging the device into its installed position. The process steps after this inven-

  tion are not merely an automated version of what went before, they are different

  steps, performed at different times and reflected in different physical operations. It

  thus provides a substantial operating advantage over the prior art.4




  4 In addition, Defendants, through their Step 1 analysis, repeatedly talk about the
  ’276 patent allegedly employing only “generic” and “conventional” “computer”
  components. This is addressed under Step 2 below, but in itself actually has nothing
  to do with Step 1.




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           Since changing the physical process by introducing new physical components

  and altering the procedure of configuring tangible devices is otherwise a patent-eli-

  gible process and not an abstract idea under Alice Step 1, it does not matter whether

  a configuration adapter is conventional or not. Step 1 looks to the claim as a whole,

  and it is irrelevant to the Step 1 analysis whether individual claim steps are or are

  not implemented with conventional apparatus, if the process is significantly altered.

  Indeed, in Diehr, no one contended that the thermocouple cited in the opinion, and

  focused on when Diehr was later revisited in Alice, was not a “conventional” piece

  of equipment. But it made no difference, because, according to the decision in Alice,

  Diehr passed Step 1, because the character of its claim—how it improved over the

  prior art—concerned improving an otherwise statutory process by “constantly deter-

  mining the temperature” at the relevant location. The fact that the thermocouple used

  to do this in Diehr may itself have been conventional did not change the result. De-

  fendants extensively discuss “conventionality” in their Alice Step 1 analysis, which

  becomes an obviousness argument, rather than one directed at the proper tests under

  Alice.

           Another reason why the claims at issue pass Step 1 is that they improve the

  functionality of the apparatus in question, and of the network. Introducing the con-

  figuration adapters enables the devices and corresponding tools to achieve a new

  order of procedural steps, which in turn vastly simplifies the network setup process.



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  It also makes it easier to set up complex networks, where, for example, devices can

  be commissioned in bulk by unskilled personnel and a master controller can be au-

  tomatically set up to control a large number of devices through similarly set up ac-

  cess points. See, e.g., ’276 patent, 12:58-67. These significant changes in apparatus

  and process improve the devices, sensors, and controllers involved, to make them

  each more simple to deploy and use, and makes the network itself more useful. See

  SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1168 (Fed. Cir. 2018) (improving

  the apparatus “as tools”).


               2.     Defendants Inadequately Address the Dependent Claims

        Defendants do not argue anywhere in their motion for a “representative

  claim.” Cf. Berkheimer, 881 F.3d at 1365 (plaintiff who “advanced meaningful ar-

  guments regarding limitations found only in the dependent claims” preserved the

  right to argue the claims separately). Instead, Defendants insert a short section at the

  end of their brief that purports to address all of the dependent claims, yet conspicu-

  ously avoids addressing the actual wording of these claims, taking the expedient of

  disparaging those claims as a group, as “computer jargon.” The dependent claims

  are not “computer” anything. The additional claim features have nothing to do with

  the operation of a computer.

        The dependent claims introduce significant additional features. See Rowe

  Dec. ¶¶ 78-89. Claims 4-5 and 7-14 further address the complexities of managing


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  heterogeneous networks of wired and wireless devices, introduce address translation

  tables to integrate them in one design that can be transferred in accordance with the

  invention. Claims 15-16 further address adapting the installation process by intro-

  ducing steps to facilitate the automatic association of a device to be commissioned

  with its physical location in the network design. Claims 18-20 and 22-25 further

  concern scaling up the methodology to networks comprising multiple devices. These

  are qualitative differences that cannot be disregarded wholesale by merely labeling

  them as “jargon.”


        B.     Step 2 Analysis

        Step 2 considers “the elements of each claim both individually and ‘as an or-

  dered combination’ to determine whether the additional elements ‘transform the na-

  ture of the claim’ into a patent-eligible application.” Alice, 573 U.S. at 217.

        As discussed above, Step 2 is not reached at all unless it has already been

  found that the claim in question is “directed to” an abstract idea.

        Defendants’ brief uses the word “generic” two dozen times. It focuses

  throughout (improperly as to Step 1), and further as to Step 2, on the argument that

  the claims are implemented by means of “a handful of generic computer compo-

  nents,” and that the specific hardware referenced in the claims, the “configuration

  adapter,” is no more than ‘an assembly of standard and conventional computer




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  components.’’ Computer components, computer components, computer components

  (actually, six repetitions).

         The Defendants use a dozen pages of their brief to attempt to establish that

  “devices exactly like the configuration adapter of the ’276 Patent were well-known

  and documented in the prior art.” Opening Br. at 31 (emphasis added) (continuing

  to page 43).

         The Defendants’ choice of words itself—particularly the word “like” and the

  specification of “the prior art” as the basis for the assertion—reflects that the De-

  fendants simply do not have the evidentiary support even to argue that a configura-

  tion adapter as in the ’276 patent claims was a conventional item for the relevant

  artisan in 2007.

         Defendants’ argument is insufficient insofar as it is directed to the prior art.

  The fact that an item was something was known in the prior art is not a sufficient

  basis to find that its use had become routine and conventional. “Whether a particular

  technology is well-understood, routine, and conventional goes beyond what was

  simply known in the prior art. The mere fact that something is disclosed in a piece

  of prior art, for example, does not mean it was well-understood, routine, and con-

  ventional.” Berkheimer, 881 F.3d at 1369; see also Exergen Corp. v. Kaz USA, Inc.,

  725 Fed. Appx. 959, 965 (Fed. Cir. 2018) (“Something is not well-understood, rou-

  tine, and conventional merely because it is disclosed in a prior art reference. There



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  are many obscure references that nonetheless qualify as prior art.”); TMI Sols., 2018

  WL 4660370 at *5; CardioNet, 955 F.3d at 1373-74.5

        Furthermore, the word “like” in Defendants’ argument is a huge qualifier. If

  anything, the argument based on similarity (as characterized by the word “like”) is

  directed to obviousness—suggesting that it would have been obvious to have modi-

  fied prior art devices to perform as the configuration adapter in the claims. But ob-

  viousness is not a proper consideration under § 101. See III.B.1.d) above.

        Defendants also gloss over what constitutes a configuration adapter. They

  seek to define it, in its entirety, as “a component in a device or connected to a device

  which receives and stores configuration data.” They quote a passage that explains

  what the term is referring to (’276 patent, 9:48-50) but which does not identify these

  words as a “definition.” In fact, the Defendants’ formulation leaves out an entire

  piece of functionality. The patent does in fact specifically explain the components

  that make up a configuration adapter “according to the present invention.” ’276 pa-

  tent, 14:47-48. This disclosure includes three (3) components: (1) a configuration




  5 Defendants seek to argue “longstanding practice,” but that argument runs into the
  problem that the practice they would rely on has been modified as part of the patent
  claims. Having failed at that, they turn to citing pages of prior art. However, the mere
  existence of alleged prior art under 35 U.S.C. §§ 102 and 103 does not substitute for
  establishing routine, conventional, longstanding practice under § 101. CardioNet,
  955 F.3d at 1373-74.



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  interface (e.g., NFC); (2) a control/memory element; and (3) a device contact inter-

  face (e.g., DALI or I2C bus).

        The literal claims also recite the operation of “reading said downloaded data

  from the configuration adapters once the devices are initialized” (id., 25:8-10, 27:31-

  33), presuming the existence of an interface within the device to access the config-

  uration adapter’s memory when the devices are later powered up.

        There should be no dispute, therefore, that the configuration adapter in the

  claims includes a wired interface, such as an I2C bus, to make use of the stored con-

  figuration data as recited in the claims.6

        What the Defendants need to make their argument under Step 2 (assuming

  they could otherwise get past Step 1) is a conventional piece of apparatus that was

  embeddable in a device and could capture configuration settings for the device with-

  out applied power to the device, which would persist until the settings were later

  read from memory and applied during (powered) device initialization. It is that type




  6 Defendants also try to make much of these terms being “functional.” To the extent
  deemed functional (and Plaintiff does not concede that any of them are), such claim-
  ing is permitted under 35 U.S.C. § 112(f), which provides in such a case that the
  meaning of the structural element for performing the function is determined by ref-
  erence to the specification. In the case of the configuration interface, this would
  cover, e.g., an NFC interface (’276 patent, 14:56-57), in the case of the device con-
  tact interface, this is identified as interfaces such as DALI, 1-Wire, and I2C. Id.,
  14:67-15:2.


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  of component, and nothing less, that is necessary to bring the invention of the ‘276

  patent to life.

         Where can such a component be found?

         A “configuration adapter” as described in the ’276 patent was not a “conven-

  tional” item in the field of the ’276 patent as of November 2007. Today, as shown

  in Exhibits E and F hereto to Prof. Rowe’s declaration, one can readily buy such

  items, referred to as dual-interface NFC EEPROM chips, from suppliers, such as

  NXP USA, Inc. (e.g., its NTAG-I2C of chips) and STMicroelectronics, Inc. (e.g., its

  M24LR family of chips) (though Prof. Rowe states that their use to configure auto-

  mation devices has not become conventional, even today). Rowe Dec. ¶ 62. How-

  ever, as already noted, these devices did not even appear on the market until approx-

  imately 2010. See Rowe Dec. at Ex. D. In 2007, such items were not generally avail-

  able off-the-shelf. Id.

         Defendant ST in fact introduced such a product in 2010 with fanfare as to how

  it would transform the process of deploying electronic instruments. The ST press

  release reflects in one of the Defendants’ own words that this was not a conventional

  component prior to its introduction. Plaintiff’s expert affirmatively so states. See

  Rowe Dec. ¶ 62 and Exs. E and F thereto. There is no evidence in the record to the

  contrary.




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           Defendants cite nothing they even claim was in conventional use prior to No-

  vember 2007 that fits the foregoing requirements. Even if the Court were to accept

  Defendants’ expert’s conclusory and factually unsupported contentions that a con-

  figuration adapter as in the ’276 patent was a routine and conventional piece of ap-

  paratus in November 2007, there is competent evidence to the contrary, constituting

  a dispute of material fact precluding any grant of summary judgement.

           Defendants rely heavily on Smith, a patent application that was first published

  on February 21, 2008—after the claimed priority date of the ’276 patent and obvi-

  ously after its invention. This publication by no means establishes that the teachings

  of Smith had in any sense become conventional as of November 2007, nor could it.

  Smith came to the public too late to have any relevance to what was conventional

  earlier, as of November 2007. It would be error for the Court to rely on Smith in

  support of any finding of conventionality under Alice Step 2.

           With Smith off the table, the practitioner is left with bits and pieces that the

  practitioner would have to piece together. The argument also could not be that it

  would have been obvious to have created a configuration adapter from electronic

  parts or adding electronic parts to inchoate assemblies. For Step 2, the argument has

  to be implementing the abstract idea per Step 1 using routine and conventional ap-

  paratus for their ordinary purposes. Nothing else that Defendants cite comes even

  close.



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        Defendants’ submissions go on at length about the ISO 14443 standard and

  its associated Proximity Integrated Circuit Card (PICC). But ISO 14443 has no de-

  vice contact interface. See Plaintiff’s Statement of Disputed Facts (“Statement”) at

  No. 64. There is no dispute that ISO 14443 defines a standard for communication

  over short ranges by inductive coupling. The ’276 patent expressly refers to and uses

  this standard, as part of its implementation. ISO 14443 defines a standard that is

  used but does not by any stretch constitute the claimed invention. A PICC as de-

  scribed in ISO 14443 is a device such as a fare card for mass transit, that can con-

  tactlessly receive and store information such as fare usage and remaining fare bal-

  ance. But as pointed out by Plaintiff’s expert, a PICC lacks a device contact interface

  that is part of the configuration adapter in the ‘276 patent. See Statement at Nos. 53,

  54, 64. A PICC is not a “configuration adapter,” and this fact is undisputed.

        Defendants’ Brief at 11 cites a 2004 Philips paper for exchanging data via

  NFC, which only involves reading parameters, with nothing about writable and per-

  sistent memory, far short of a configuration adapter as in the ‘276 patent claims.

  Statement at Nos. 46, 47, 63; Ex. 3 to Abramson Dec., Declaration of Anthony G.

  Rowe, dated January 28, 2021 ¶ 4.

        Teraura, U.S. Patent No. 6,873,259 proposed an RFID tag for use as an elec-

  tronic ID device. Thought it did disclose embodiments in which a running computer




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  could read data on the tag through an electronic interface, there is no suggestion to

  use the tag for any configuration setup of a device. Rowe Dec. ¶ 73.

        Dua, U.S. Pat. No. 8,244,179, like ISO 14443, discloses stored device profiles

  which may be used to set up pairings with other devices. However, these develop on

  the device during operation, and are used during operation to pair with other devices.

  There is no disclosure of using this technique to form network connections automat-

  ically on device initialization. Dua discloses that the RFID tag may be passive, but

  in that case “there is no option to update the tag information, so the information only

  the Bluetooth serial number of the headphone unit 152.” Rowe Dec. ¶ 71.

        Spencer, U.S. Pat. No. 6,712,277, is directed to a memory card for use with

  devices such as “cameras and PDAs.” It says nothing about adapting any of its cir-

  cuitry as a component to be built into another device as a repository for initialization

  information to set up network connections. Rowe Dec. ¶ 72.

        Defendants’ discussion of these items of prior looks exactly like an obvious-

  ness argument under 35 U.S.C. § 103, because that is what it is. It is not a proper

  argument under § 101.

        Defendants’ evidence, even if taken without regard to the fact that it is factu-

  ally disputed, falls far short of demonstrating conventionality. Defendants, citing

  Electric Power Group, LLC v. Alstom S.A., 830 F.3d 1350, 1356 (Fed. Cir. 2016),

  argue that “there is a critical difference between patenting a particular concrete



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  solution to a problem and attempting to patent the abstract idea of a solution to the

  problem in general.” Opening Br. at 16-17. This might make sense if the claim pur-

  ported to cover any manner of setting up a network, as opposed to (as here) specify-

  ing specialized hardware component to be included in each setup and a correspond-

  ing procedure that delays device initialization. Unlike In re TLI Communications

  LLC Patent Litigation, 823 F.3d 607, 611 (Fed. Cir. 2016), the ’276 patent does not

  involve merely automating a sequence of prior steps from a pre-existing manual pro-

  cess using general purpose tools that simply work as expected to perform their usual

  function. In particular, there is no analog in the prior device commissioning proce-

  dure that corresponds to the step of transferring a complete set of all needed design

  data to the device before it is initialized, and the hardware for doing this, i.e., the

  commissioning tool and configuration adapters with complementary NFC interfaces,

  which were not generally available at all. Defendants quote Affinity Labs of Tex.,

  LLC v. DirecTV, LLC, 838 F.3d 1253, 1264 (Fed. Cir. 2016), arguing that the present

  case similarly reflects “nothing more than a “particular choice[] [of technology]

  from within a range of existing [technologies].” Opening Br. at 17-18. The “partic-

  ular choice” rationale in Affinity Labs was referring to the fact that the choices, such

  as selecting the type of content to send, or the type of information to display user,

  did not have technological significance to whether the claimed operation would

  work or not. Here the choice is limited to functionality uniquely suited to making



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  possible the revised procedure of configuring first without power and then initializ-

  ing, i.e., the ability to write the design data to the device without applied power, to

  persist that data in the device until needed for later initialization under power. This

  was a purpose-built set of components (the commissioning tool and the configura-

  tion adapter in the device), not a technologically arbitrary selection from a range of

  workable solutions or mere content to carry. Defendants’ authorities fail to address

  the facts before the Court concerning how the hardware and process improvements

  implemented in the ’276 patent improve the functioning of the automation platform

  itself, a key to patentable subject matter.




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  V.      CONCLUSION

          WHEREFORE, for the foregoing reasons, Defendants’ motion should be de-

  nied.

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                        CERTIFICATE OF COMPLIANCE
        The foregoing Plaintiff’s Memorandum in Opposition to Motion for Summary

  Judgment complies with the type-volume limitations of the Court’s November 6,

  2019 Standing Order Regarding Briefing in All Cases and this Court’s Scheduling

  Order (D.I. 41, 60). The text of the Brief, including footnotes, was prepared in 14-

  point Cambria font and contains 9,804 words.

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